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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )   Chapter 11
                                                                       )
CARESTREAM HEALTH, INC., et al., 1                                     )   Case No. 22-10778 (JKS)
                                                                       )
                                   Debtors.                            )   (Joint Administration Requested)
                                                                       )

                      NOTICE OF FILING OF PROPOSED
               REDACTED VERSION OF THE DEBTORS’ MOTION
           SEEKING INTERIM AND FINAL ORDERS (I) AUTHORIZING
           THE DEBTORS TO (A) OBTAIN POSTPETITION FINANCING
        AND (B) UTILIZE CASH COLLATERAL, (II) GRANTING LIENS AND
      SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS, (III) GRANTING
      ADEQUATE PROTECTION, (IV) MODIFYING THE AUTOMATIC STAY, (V)
     SCHEDULING A FINAL HEARING, AND (VI) GRANTING RELATED RELIEF

         PLEASE TAKE NOTICE that on August 23, 2022, the above-captioned debtors and

 debtors-in-possession (collectively, the “Debtors”) filed under seal the Debtors’ Motion Seeking

 Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and

 (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense

 Claims, (III) Granting Adequate Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a

 Final Hearing, and (VI) Granting Related Relief [Docket No. 18] (the “DIP Motion”), including

 all exhibits thereto, with the United States Bankruptcy Court for the District of Delaware, 824

 North Market Street, Wilmington, Delaware 19801.

         PLEASE TAKE FURTHER NOTICE that, pursuant to Local Rule 9018-1(d)(ii),

 attached hereto as Exhibit A is the redacted version of the DIP Motion.



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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
     Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
     Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
     Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co. (3232).
     The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
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Dated: August 23, 2022         /s/ Laura Davis Jones
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                               Proposed Co-Counsel for the Debtors and Debtors in Possession




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